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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
DEBORAH D. PETERSON,                      )
Personal Representative of the            )
Estate of James C. Knipple (Dec.), et al.,)
                                          )
            Plaintiffs,                   )
                                          )                  Consolidated Civil Actions:
                   v.                     )                        01-2094 (RCL)
                                          )                        01-2684 (RCL)
                                          )
ISLAMIC REPUBLIC OF IRAN, et al.,         )
                                          )
            Defendants.                   )
__________________________________________)

                                         JUDGMENT

       In accord with the Memorandum Opinion issued this date, it is hereby

       ORDERED that Default Judgment be entered in favor of plaintiffs and against

defendants, jointly and severally, in the amount of $2,656,944,877.00, which shall be allocated

in the following manner:

       1.     Wrongful Death Claims Brought by the Personal Representatives and Estates of

              Deceased Servicemen

Abbott, Terry                                $1,485,243.00
Allman, John Robert                          $545,937.00
Bates, Ronny Kent                            $2,991,659.00
Baynard, James                               $626,517.00
Beamon, Jess W.                              $988,897.00
Belmer, Alvin Burton                         $8,384,746.00
Blankenship, Richard D.                      $1,421,889.00
Blocker, John W.                             $975,621.00
Boccia, Joseph John Jr.                      $1,276,641.00
Bohannon, Leon                               $706,549.00


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Bonk, John Jr.                      $904,220.00
Boulos, Jeffrey Joseph              $1,154,112.00
Boyett, John Norman                 $2,235,375.00
Burley, William                     $170,847.00
Callahan, Paul                      $974,546.00
Camara, Mecot                       $1,882,308.00
Campus, Bradley                     $433,959.00
Ceasar, Johnnie                     $313,593.00
Conley, Robert Allen                $962,677.00
Cook, Charles Dennis                $837,147.00
Copeland, Johnny Len                $541,325.00
Cosner, David                       $1,105,668.00
Coulman, Kevin                      $1,287,092.00
Crudale, Rick                       $1,004,731.00
Cyzick, Russell                     $575,554.00
Devlin, Michael                     $939,887.00
Dorsey, Nathaniel                   $638,703.00
Dunnigan, Timothy                   $709,232.00
Earle, Bryan                        $1,286,372.00
Estes, Danny R.                     $1,000,157.00
Fluegel, Richard Andrew             $1,089,811.00
Fulcher, Michael D.                 $1,257,150.00
Gallagher, Sean                     $674,382.00
Gangur, George                      $1,000,935.00
Garcia, Randall                     $1,127,694.00
Ghumm, Harold                       $1,260,508.00
Giblin, Timothy                     $1,301,526.00
Gorchinski, Michael                 $1,931,668.00
Gordon, Richard                     $965,609.00
Green, Davin M.                     $1,025,050.00
Hairston, Thomas                    $1,489,395.00
Haskell, Michael                    $2,871,058.00
Helms, Mark Anthony                 $1,028,509.00
Hester, Stanley G.                  $1,493,349.00
Hildreth, Donald Wayne              $1,425,177.00
Holberton, Richard                  $1,818,176.00
Hudson, Dr. John                    $4,072,010.00
Hukill, Maurice Edward              $3,038,258.00
Iacovino, Edward Jr.                $407,196.00
Innocenzi, Paul III                 $1,715,253.00
Jackowski, James                    $463,355.00
James, Jeffrey Wilbur               $251,607.00
Jenkins, Nathaniel Walter           $7,599,314


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Johnston, Edward Anthony             $1,246,535.00
Jones, Steven                        $801,721.00
Julian, Thomas Adrian                $415,311.00
Keown, Thomas                        $1,013,901.00
Kluck, Daniel                        $922,630.00
Knipple, James C.                    $1,018,665.00
Kreischer, Freas H. III              $1,059,185.00
Laise, Keith                         $447,984.00
Langon, James IV                     $1,066,903.00
LaRiviere, Michael Scott             $1,056,282.00
LaRiviere, Steven                    $986,622.00
Lemnah, Richard                      $1,842,869.00
Livingston, Joseph R. ("Joel") III   $1,762,193.00
Lyon, Paul D. Jr.                    $1,034,459.00
Macroglou, John                      $2,183,935.00
Maitland, Samuel Jr.                 $970,700.00
Martin, Charlie Robert               $1,316,085.00
Massa, David                         $674,558.00
McCall, John                         $853,420.00
McDonough, James E.                  $952,847.00
McMahon, Timothy R.                  $984,020.00
Menkins, Richard II                  $850,938.00
Meurer, Ronald                       $1,855,272.00
Milano, Joseph Peter                 $674,258.00
Moore, Joseph                        $980,150.00
Myers, Harry Douglas                 $891,144.00
Nairn, David                         $1,562,682.00
Olson, John Arne                     $1,010,497.00
Owens, Joseph Albert                 $502,237.00
Page, Connie Ray                     $1,012,211.00
Parker, Ulysses Gregory              $641,523.00
Pearson, John L.                     $1,816,369.00
Perron, Thomas S.                    $424,110.00
Phillips, John Arthur Jr.            $1,030,308.00
Pollard, William Roy                 $1,111,556.00
Prevatt, Victor Mark                 $862,635.00
Price, James                         $989,921.00
Prindeville, Patrick Kerry           $305,675.00
Quirante, Diomedes J.                $2,178,822.00
Richardson, Warren                   $796,673.00
Rotondo, Louis J.                    $2,276,348.00
Sauls, Michael Caleb                 $974,601.00
Schnorf, Charles Jeffrey             $2,790,541.00


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Schultz, Scott Lee                        $675,361.00
Scialabba, Peter                          $2,462,179.00
Scott, Gary Randall                       $432,024.00
Shipp, Thomas Alan                        $738,895.00
Shropshire, Jerryl                        $212,061.00
Simpson, Larry H. Jr.                     $5,995,660.00
Smith, Kirk Hall                          $710,042.00
Smith, Thomas Gerard                      $980,543.00
Smith, Vincent                            $1,285,915.00
Sommerhof, William Scott                  $1,361,062.00
Spencer, Stephen Eugene                   $974,298.00
Stelpflug, William                        $1,094,429.00
Stephens, Horace Renardo Jr. ("Ricky")    $446,107.00
Stockton, Craig                           $1,007,526.00
Stokes, Jeffrey                           $1,599,994.00
Sturghill, Eric D.                        $725,378.00
Sundar, Devon                             $1,394,608.00
Thorstad, Thomas Paul                     $1,921,086.00
Tingley, Stephen                          $1,439,655.00
Vallone, Donald H. Jr.                    $462,193.00
Washington, Eric Glenn                    $1,069,270.00
Wigglesworth, Dwayne                      $1,001,122.00
Williams, Rodney J.                       $671,206.00
Williams, Scipio Jr.                      $1,635,994.00
Williamson, Johnny Adam                   $443,409.00
Winter, William Ellis                     $2,534,910.00
Woollett, Donald Elberan                  $2,021,565.00
Wyche, Craig                              $1,025,860.00
Young, Jeffrey D.                         $618,891.00

       2.     Battery Claims Brought by Injured Servicemen

Albright, Marvin                          $5,000,000.00
Arroyo, Pablo                             $5,000,000.00
Banks, Anthony                            $7,500,000.00
Burnette, Rodney Darrell                  $8,000,000.00
Comes, Frank Jr.                          $1,500,000.00
Dolphin, Glenn                            $3,000,000.00
Eaves, Frederick Daniel                   $1,500,000.00
Frye, Charles                             $2,200,000.00
Garner, Truman Dale                       $7,500,000.00
Gerlach, Larry                            $12,000,000.00
Hlywiak, John                             $1,500,000.00


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Hunt, Orval                             $8,000,000.00
Jacobs, Joseph P.                       $5,000,000.00
Kirkpatrick, Brian                      $8,000,000.00
Matthews, Burnham                       $7,000,000.00
Mitchell, Timothy                       $4,555,099.00
Moore, Lovelle "Darrell"                $8,314,513.00
Nashton, Jeffrey                        $11,776,632.00
Oliver, John                            $3,277,542.00
Rivers, Paul                            $7,000,000.00
Russell, Stephen                        $9,252,749.00
Spaulding, Dana                         $9,559,609.00
Swinson, Craig Joseph                   $1,500,000.00
Toma, Michael                           $7,500,000.00
Wheeler, Danny                          $5,000,000.00
Young, Thomas D.                        $1,500,000.00

       3.     Claims Brought by Family Members of Deceased Servicemen

Abbey, Lilla Woollett                   $2,500,000.00
Abbott, James                           $5,000,000.00
Abbott, Mary (Estate of)                $5,000,000.00
Adams, Elizabeth                        $2,500,000.00
Ahlquist, Eileen Prindeville            $2,500,000.00
Alarcon, Miralda (Judith Maitland)      $8,000,000.00
Allman, Anne                            $5,000,000.00
Allman, Robert                          $5,000,000.00
Allman, Theodore (Estate of)            $2,500,000.00
Allman, DiAnne Margaret ("Maggie")      $2,500,000.00
Alvarez, Margaret E.                    $2,500,000.00
Angus, Kimberly F.                      $2,500,000.00
Bates, Donnie                           $2,500,000.00
Bates, Johnny                           $2,500,000.00
Bates, Laura                            $5,000,000.00
Bates, Margie                           $5,000,000.00
Bates, Monty                            $2,500,000.00
Bates, Thomas Jr.                       $2,500,000.00
Bates, Thomas C., Sr.                   $5,000,000.00
Baumgartner, Mary E.                    $2,500,000.00
Baynard, Anthony                        $2,500,000.00
Baynard, Barry                          $2,500,000.00
Baynard, Emerson                        $2,500,000.00
Baynard, Philip                         $2,500,000.00
Baynard, Thomasine                      $8,000,000.00


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Baynard, Timothy                    $2,500,000.00
Baynard, Wayne                      $2,500,000.00
Baynard, Stephen                    $5,000,000.00
Beard, Anna                         $2,500,000.00
Beck, Mary Ann                      $2,500,000.00
Belmer, Alue                        $5,000,000.00
Belmer, Annette                     $2,500,000.00
Belmer, Clarence                    $2,500,000.00
Belmer, Colby Keith                 $5,000,000.00
Belmer, Denise                      $2,500,000.00
Belmer, Donna                       $2,500,000.00
Belmer, Faye                        $8,000,000.00
Belmer, Kenneth                     $2,500,000.00
Belmer, Luddie                      $5,000,000.00
Biellow, Shawn                      $2,500,000.00
Black, Mary Frances                 $2,500,000.00
Blankenship, Donald Jr.             $2,500,000.00
Blankenship, Donald Sr.             $5,000,000.00
Blankenship, Mary (Estate of)       $5,000,000.00
Blocker, Alice                      $5,000,000.00
Blocker, Douglas                    $2,500,000.00
Blocker, John R.                    $5,000,000.00
Blocker, Robert                     $2,500,000.00
Boccia, James                       $2,500,000.00
Boccia, Joseph Sr.                  $5,000,000.00
Boccia, Patricia                    $5,000,000.00
Boccia, Raymond                     $2,500,000.00
Boccia, Richard                     $2,500,000.00
Boccia, Ronnie (Veronica)           $2,500,000.00
Boddie, Leticia                     $2,500,000.00
Bohannon, Angela                    $2,500,000.00
Bohannon, Anthony                   $2,500,000.00
Bohannon, Carrie                    $5,000,000.00
Bohannon, David                     $2,500,000.00
Bohannon, Edna                      $8,000,000.00
Bohannon, Leon Sr.                  $5,000,000.00
Bohannon, Ricki                     $2,500,000.00
Bolinger, Billie Jean               $5,000,000.00
Boulos, Joseph                      $5,000,000.00
Boulos, Lydia                       $2,500,000.00
Boulos, Marie                       $5,000,000.00
Bowler, Rebecca                     $2,500,000.00
Boyett, Lavon                       $5,000,000.00
Boyett, Norman E. Jr. (Estate of)   $5,000,000.00

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Boyett, Theresa U. Roth               $8,000,000.00
Boyett, William A.                    $2,500,000.00
Breeden, Susan Schnorf                $2,500,000.00
Briscoe, Damion                       $2,500,000.00
Brown, Christine                      $5,000,000.00
Brunette, Rosanne                     $2,500,000.00
Buckner, Mary Lynn                    $8,000,000.00
Burley, Claude (Estate of)            $5,000,000.00
Burley, William Douglas (Estate of)   $2,500,000.00
Burley, Myra                          $2,500,000.00
Calabro, Kathleen                     $2,500,000.00
Caldera, Rachel                       $2,500,000.00
Callahan, Avenell                     $5,000,000.00
Callahan, Michael                     $2,500,000.00
Calloway, Patricia (Patsy Ann)        $2,500,000.00
Camara, Elisa Rock                    $2,500,000.00
Camara, Theresa Riggs                 $2,500,000.00
Campbell, Candace                     $2,500,000.00
Campus, Clare                         $5,000,000.00
Capobianco, Elaine                    $2,500,000.00
Carter, Florene Martin                $2,500,000.00
Cash, Phyllis A.                      $2,500,000.00
Catano, Theresa                       $2,500,000.00
Ceasar, Bruce                         $2,500,000.00
Ceasar, Franklin                      $2,500,000.00
Ceasar, Fredrick                      $2,500,000.00
Ceasar, Robbie Nell                   $5,000,000.00
Ceasar, Sybil                         $1,250,000.00
Cecca, Christine Devlin               $2,500,000.00
Chapman, Tammy                        $2,500,000.00
Cherry, James                         $2,500,000.00
Cherry, Sonia                         $2,500,000.00
Chios, Adele H.                       $2,500,000.00
Christian, Jana M.                    $2,500,000.00
Christian, Sharon Rose                $2,500,000.00
Ciupaska, Susan                       $2,500,000.00
Clark, LeShune Stokes                 $2,500,000.00
Clark, Rosemary                       $2,500,000.00
Cobble, Mary Ann                      $5,000,000.00
Collard, Karen Shipp                  $2,500,000.00
Collier, Jennifer                     $5,000,000.00
Collier, Melia Winter                 $8,000,000.00
Coltrane, Deborah M.                  $8,000,000.00
Conley, James N. Jr.                  $5,000,000.00

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Conley, Roberta Li                 $5,000,000.00
Cook, Charles F.                   $5,000,000.00
Cook, Elizabeth A.                 $2,500,000.00
Cook, Mary A. (Estate of)          $5,000,000.00
Copeland, Alan Tracy               $2,500,000.00
Copeland, Betty                    $5,000,000.00
Copeland, Donald                   $5,000,000.00
Corry, Blanche                     $2,500,000.00
Cosner, Harold                     $5,000,000.00
Cosner, Jeffrey                    $2,500,000.00
Cosner, Leanna                     $5,000,000.00
Cosner, Marva Lynn (Estate of)     $5,000,000.00
Cossaboom, Cheryl                  $2,500,000.00
Coulman, Bryan Thomas              $2,500,000.00
Coulman, Christopher J.            $2,500,000.00
Coulman, Dennis P.                 $2,500,000.00
Coulman, Lorraine M.               $5,000,000.00
Coulman, Robert D.                 $2,500,000.00
Coulman, Robert Louis              $5,000,000.00
Covington, Charlita Martin         $5,000,000.00
Crouch, Amanda                     $5,000,000.00
Crudale, Marie                     $5,000,000.00
Cyzick, Eugene                     $2,500,000.00
Dallachie, Lynn                    $8,000,000.00
Deal, Anne                         $2,500,000.00
Derbyshire, Lynn Smith             $2,500,000.00
Desjardins, Theresa                $5,000,000.00
Devlin, Christine                  $5,000,000.00
Devlin, Daniel                     $2,500,000.00
Devlin, Gabrielle                  $2,500,000.00
Devlin, Richard                    $2,500,000.00
Devlin, Sean                       $2,500,000.00
Donahue (Milano), Rosalie          $2,500,000.00
Doray, Ashley                      $5,000,000.00
Doss, Rebecca                      $2,500,000.00
Dunnigan, Chester                  $2,500,000.00
Dunnigan, Elizabeth Ann            $2,500,000.00
Dunnigan, Michael                  $2,500,000.00
Dunnigan, William                  $2,500,000.00
Dunnigan, Claudine                 $5,000,000.00
Edquist, Janice Thorstad           $2,500,000.00
Ervin, Mary Ruth                   $5,000,000.00
Estes, Barbara                     $5,000,000.00
Estes, Charles                     $5,000,000.00

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Estes, Frank                        $2,500,000.00
Fansler, Lori                       $2,500,000.00
Farthing, Angela Dawn               $2,500,000.00
Ferguson, Arlington                 $1,250,000.00
Ferguson, Hilton                    $1,250,000.00
Fish, Linda Sandback                $8,000,000.00
Fox, Nancy Brocksbank               $5,000,000.00
Fox, Tia                            $2,500,000.00
Freshour, Tammy                     $8,000,000.00
Fulcher, Ruby                       $5,000,000.00
Gallagher, Barbara                  $5,000,000.00
Gallagher, Brian                    $2,500,000.00
Gallagher, James (Estate of)        $5,000,000.00
Gallagher, James Jr.                $2,500,000.00
Gallagher, Kevin                    $2,500,000.00
Gallagher, Michael                  $2,500,000.00
Gangur, Dimitri                     $5,000,000.00
Gangur, Mary                        $5,000,000.00
Garcia, Jess                        $5,000,000.00
Garcia, Ronald                      $2,500,000.00
Garcia, Roxanne                     $2,500,000.00
Garcia, Russell                     $2,500,000.00
Garcia, Violet                      $5,000,000.00
Garza, Suzanne Perron               $2,500,000.00
Gattegno, Jeanne                    $2,500,000.00
Ghumm, Arlene                       $8,000,000.00
Ghumm, Ashley                       $5,000,000.00
Ghumm, Bill                         $2,500,000.00
Ghumm, Edward                       $2,500,000.00
Ghumm, Hildegard                    $5,000,000.00
Ghumm, Jedaiah (Estate of)          $5,000,000.00
Ghumm, Jesse                        $2,500,000.00
Ghumm, Leroy                        $5,000,000.00
Ghumm, Moronica                     $5,000,000.00
Giblin, Donald                      $2,500,000.00
Giblin, Jeanne                      $5,000,000.00
Giblin, Michael                     $2,500,000.00
Giblin, Tiffany                     $5,000,000.00
Giblin, Valerie                     $8,000,000.00
Giblin, William                     $2,500,000.00
Gilford-Smith, Thad                 $2,500,000.00
Gintonio, Rebecca                   $2,500,000.00
Goff, Dawn                          $2,500,000.00
Gorchinski, Christina               $5,000,000.00

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Gorchinski, Judy                    $8,000,000.00
Gorchinski, Kevin                   $5,000,000.00
Gorchinski, Valerie                 $5,000,000.00
Gordon, Alice                       $5,000,000.00
Gordon, Joseph                      $2,500,000.00
Gordon, Linda                       $2,500,000.00
Gordon, Norris (Estate of)          $5,000,000.00
Gordon, Paul                        $2,500,000.00
Grant, Andrea                       $2,500,000.00
Graves, Deborah                     $2,500,000.00
Green, Deborah                      $8,000,000.00
Gregg, Liberty Quirante             $2,500,000.00
Griffin, Alex                       $2,500,000.00
Grimsley, Catherine E.              $2,500,000.00
Gummer, Megan                       $2,500,000.00
Guz, Lyda Woollett                  $2,500,000.00
Hairston, Darlene                   $8,000,000.00
Hanrahan, Tara                      $2,500,000.00
Hart, Mary Clyde                    $2,500,000.00
Haskill, Brenda                     $2,500,000.00
Haskell, Jeffrey                    $2,500,000.00
Hedge, Kathleen S.                  $8,000,000.00
Helms, Christopher Todd             $2,500,000.00
Helms, Marvin R.                    $5,000,000.00
Hester, Doris                       $8,000,000.00
Hildreth, Clifton                   $5,000,000.00
Hildreth, Julia                     $5,000,000.00
Hildreth, Mary Ann                  $8,000,000.00
Hildreth, Michael Wayne             $5,000,000.00
Hilton, Sharon A.                   $2,500,000.00
Holberton, Donald                   $2,500,000.00
Holberton, Patricia Lee             $5,000,000.00
Holberton, Thomas                   $2,500,000.00
Hollifield, Tangie                  $2,500,000.00
Horner, Debra                       $8,000,000.00
House, Elizabeth                    $2,500,000.00
Houston, Joyce A.                   $5,000,000.00
Howell, Tammy Camara                $8,000,000.00
Hudson, Lisa H.                     $8,000,000.00
Hudson, Lorenzo                     $2,500,000.00
Hudson, Lucy                        $5,000,000.00
Hudson, Ruth                        $2,500,000.00
Hudson, Samuel (Estate of)          $5,000,000.00
Hudson, William J.                  $5,000,000.00

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Hugis, Susan Thorstad (Estate of)   $2,500,000.00
Hurlburt, Nancy Tingley             $2,500,000.00
Hurston, Cynthia Perron             $2,500,000.00
Iacovino, Edward Sr. (Estate of)    $5,000,000.00
Iacovino, Elizabeth                 $5,000,000.00
Innocenzi, Deborah                  $8,000,000.00
Innocenzi, Kristin                  $5,000,000.00
Innocenzi, Mark                     $2,500,000.00
Innocenzi, Paul IV                  $5,000,000.00
Jaccom, Bernadette                  $2,500,000.00
Jackowski, John Jr.                 $2,500,000.00
Jackowski, John Sr.                 $5,000,000.00
Jacobus, Victoria                   $2,500,000.00
James, Elaine                       $5,000,000.00
Jenkins, Nathalie C.                $5,000,000.00
Jenkins, Stephen                    $2,500,000.00
Jewett, Rebecca                     $2,500,000.00
Johnson, Linda Martin               $2,500,000.00
Johnson, Ray                        $2,500,000.00
Johnson, Rennitta Stokes            $2,500,000.00
Johnson, Sherry                     $5,000,000.00
Johnston, Charles                   $2,500,000.00
Johnston, Edwin                     $5,000,000.00
Johnston, Mary Ann                  $5,000,000.00
Johnston, Zandra LaRiviere          $2,500,000.00
Jones, Alicia                       $2,500,000.00
Jones, Corene Martin                $2,500,000.00
Jones, Kia Briscoe                  $2,500,000.00
Jones, Mark                         $2,500,000.00
Jones, Ollie                        $5,000,000.00
Jones, Sandra D.                    $5,000,000.00
Jones, Synovure (Estate of)         $2,500,000.00
Jordan, Robin Copeland              $2,500,000.00
Jordan, Susan Scott                 $2,500,000.00
Julian, Joyce                       $5,000,000.00
Julian, Karl                        $5,000,000.00
Jurist, Nada                        $2,500,000.00
Keown, Adam                         $2,500,000.00
Keown, Bobby Jr.                    $2,500,000.00
Keown, Bobby Sr.                    $5,000,000.00
Keown, Darren                       $2,500,000.00
Keown, William                      $2,500,000.00
Kirker, Mary Joe                    $2,500,000.00
Kluck, Kelly                        $2,500,000.00

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Kluck, Michael                          $2,500,000.00
Knipple, John D. (Estate of)            $5,000,000.00
Knipple, John R.                        $2,500,000.00
Knipple, Pauline (Estate of)            $5,000,000.00
Knox, Shirley L.                        $2,500,000.00
Kreischer, Doreen                       $5,000,000.00
Kreischer, Freas H. Jr.                 $5,000,000.00
Lake, Cynthia D.                        $2,500,000.00
Lange, Wendy L.                         $2,500,000.00
Langon, James III                       $5,000,000.00
LaRiviere, Eugene                       $2,500,000.00
LaRiviere, Janet                        $5,000,000.00
LaRiviere, John M.                      $2,500,000.00
LaRiviere, Lesley                       $2,500,000.00
LaRiviere, Michael                      $2,500,000.00
LaRiviere, Nancy                        $2,500,000.00
LaRiviere, Richard                      $2,500,000.00
LaRiviere, Richard G. (Estate of)       $5,000,000.00
LaRiviere, Robert                       $2,500,000.00
LaRiviere, William                      $2,500,000.00
Lawton, Cathy L.                        $2,500,000.00
LeGault, Heidi Crudale                  $8,000,000.00
Lemnah, Clarence (Estate of)            $5,000,000.00
Lemnah, Etta                            $5,000,000.00
Lemnah, Fay                             $2,500,000.00
Lemnah, Harold                          $2,500,000.00
Lemnah, Marlys                          $8,000,000.00
Lemnah, Robert                          $2,500,000.00
Lemnah, Ronald                          $2,500,000.00
Livingston, Annette R.                  $8,000,000.00
Livingston, Joseph R. IV                $5,000,000.00
Livingston, Joseph R. Jr. (Estate of)   $5,000,000.00
Lynch, Robin M.                         $2,500,000.00
Lyon, Earl                              $2,500,000.00
Lyon, Francisco                         $2,500,000.00
Lyon, June                              $2,500,000.00
Lyon, Maria                             $5,000,000.00
Lyon, Paul D. Sr.                       $5,000,000.00
Lyon, Valerie                           $2,500,000.00
Macroglou, Heather                      $5,000,000.00
Mahoney, Kathleen Devlin                $2,500,000.00
Maitland, Kenty                         $2,500,000.00
Maitland, Leysnal                       $5,000,000.00
Maitland, Samuel Sr.                    $5,000,000.00

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Maitland, Shirla                    $2,500,000.00
Marshall, Virginia Boccia           $2,500,000.00
Martin, John                        $2,500,000.00
Martin, Pacita                      $8,000,000.00
Martin, Renerio                     $5,000,000.00
Martin, Ruby                        $5,000,000.00
Martin, Shirley                     $5,000,000.00
Mason, Mary                         $5,000,000.00
Massa, Cristina                     $5,000,000.00
Massa, Edmund                       $2,500,000.00
Massa, Joao ("John")                $2,500,000.00
Massa, Jose ("Joe")                 $2,500,000.00
Massa, Manuel Jr.                   $2,500,000.00
Massa, Ramiro                       $2,500,000.00
McCall, Mary                        $5,000,000.00
McCall, Thomas (Estate of)          $5,000,000.00
McCall, Valerie                     $2,500,000.00
McDermott, Gail                     $2,500,000.00
McFarlin, Julia A.                  $2,500,000.00
McMahon, George                     $2,500,000.00
McMahon, Michael                    $2,500,000.00
McPhee, Patty                       $5,000,000.00
Menkins, Darren                     $2,500,000.00
Menkins, Gregory                    $2,500,000.00
Menkins, Margaret                   $5,000,000.00
Menkins, Richard H.                 $5,000,000.00
Meurer, Jay T.                      $2,500,000.00
Meurer, John                        $5,000,000.00
Meurer, John Thomas                 $2,500,000.00
Meurer, Mary Lou                    $5,000,000.00
Meurer, Michael                     $2,500,000.00
Meyer, Penny                        $2,500,000.00
Milano, Angela                      $5,000,000.00
Milano, Peter Jr.                   $5,000,000.00
Miller, Earline                     $5,000,000.00
Miller, Henry                       $2,500,000.00
Miller, Patricia                    $2,500,000.00
Montgomery, Helen                   $2,500,000.00
Moore, Betty                        $5,000,000.00
Moore, Harry                        $5,000,000.00
Moore, Kimberly                     $2,500,000.00
Moore, Mary                         $8,000,000.00
Moore, Melissa Lea                  $2,500,000.00
Moore, Michael (Estate of)          $2,500,000.00

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Moy, Elizabeth Phillips              $2,500,000.00
Myers, Debra                         $2,500,000.00
Myers, Geneva                        $5,000,000.00
Myers, Harry A.                      $5,000,000.00
Nairn, Billie Ann                    $5,000,000.00
Nairn, Campbell J. III               $2,500,000.00
Nairn, Campbell J. Jr. (Estate of)   $5,000,000.00
Nairn, William P.                    $2,500,000.00
Norfleet, Richard                    $5,000,000.00
O'Connor, Deborah                    $2,500,000.00
Olaniji, Pearl                       $5,000,000.00
Olson, Bertha (Estate of)            $5,000,000.00
Olson, Karen L.                      $2,500,000.00
Olson, Randal D.                     $2,500,000.00
Olson, Roger S.                      $2,500,000.00
Olson, Ronald J.                     $2,500,000.00
Olson, Sigurd (Estate of)            $5,000,000.00
Owens, David                         $2,500,000.00
Owens, Deanna                        $2,500,000.00
Owens, Frances                       $5,000,000.00
Owens, James (Estate of)             $5,000,000.00
Owens, Steven                        $2,500,000.00
Page, Connie Mack                    $5,000,000.00
Page, Judith K.                      $5,000,000.00
Palmer, Lisa Menkins                 $2,500,000.00
Paolozzi, Geraldine                  $2,500,000.00
Pare, Maureen                        $2,500,000.00
Parker, Henry James                  $2,500,000.00
Parker, Sharon                       $2,500,000.00
Pearson, Helen M.                    $5,000,000.00
Pearson, John L. Jr.                 $5,000,000.00
Pearson, Sonia                       $8,000,000.00
Perron, Brett                        $2,500,000.00
Perron, Deborah Jean                 $2,500,000.00
Perron, Michelle                     $2,500,000.00
Perron, Ronald R.                    $5,000,000.00
Persky, Muriel                       $5,000,000.00
Peterson, Deborah D.                 $2,500,000.00
Petry, Sharon Conley                 $2,500,000.00
Petrick, Sandra                      $2,500,000.00
Phelps, Donna Vallone                $5,000,000.00
Phillips, Harold                     $2,500,000.00
Phillips, John Arthur Sr.            $5,000,000.00
Plickys, Donna Tingley               $2,500,000.00

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Pollard, Margaret Aileen              $8,000,000.00
Pollard, Stacey Yvonne                $5,000,000.00
Prevatt, Lee Hollan                   $2,500,000.00
Prevatt, Victor Thornton              $5,000,000.00
Price, John                           $5,000,000.00
Price, Joseph                         $2,500,000.00
Prindeville, Barbara D. (Estate of)   $5,000,000.00
Prindeville, Kathleen Tara            $2,500,000.00
Prindeville, Michael                  $2,500,000.00
Prindeville, Paul                     $5,000,000.00
Prindeville, Sean                     $2,500,000.00
Quirante, Belinda J.                  $5,000,000.00
Quirante, Edgar                       $2,500,000.00
Quirante, Godofredo (Estate of)       $5,000,000.00
Quirante, Milton                      $2,500,000.00
Quirante, Sabrina                     $2,500,000.00
Ray, Susan                            $2,500,000.00
Reininger, Laura M.                   $2,500,000.00
Richardson, Alan                      $2,500,000.00
Richardson, Beatrice                  $5,000,000.00
Richardson, Clarence                  $5,000,000.00
Richardson, Eric                      $2,500,000.00
Richardson, Lynette                   $2,500,000.00
Richardson, Vanessa                   $2,500,000.00
Richardson-Mills, Philiece            $5,000,000.00
Ricks, Melrose                        $5,000,000.00
Riva, Belinda Quirante                $2,500,000.00
Rockwell, Barbara                     $5,000,000.00
Rooney, Linda                         $2,500,000.00
Rose, Tara Smith                      $2,500,000.00
Ruark, Tammi                          $2,500,000.00
Rudkowski, Juliana                    $2,500,000.00
Russell, Marie McMahon                $2,500,000.00
Sanchez, Alicia Lynn                  $5,000,000.00
Sauls, Andrew                         $2,500,000.00
Sauls, Henry Caleb                    $2,500,000.00
Sauls, Riley A.                       $2,500,000.00
Schnorf, Margaret Medler              $5,000,000.00
Schnorf, Richard (brother)            $2,500,000.00
Schnorf, Richard (father)             $5,000,000.00
Schnorf, Robert                       $2,500,000.00
Schultz, Beverly                      $5,000,000.00
Schultz, Dennis James                 $2,500,000.00
Schultz, Dennis Ray                   $5,000,000.00

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Scialabba, Frank                      $5,000,000.00
Scialabba, Jacqueline                 $8,000,000.00
Scialabba, Samuel Scott               $5,000,000.00
Scott, Jon Christopher                $2,500,000.00
Scott, Kevin James                    $2,500,000.00
Scott, Larry L. (Estate of)           $5,000,000.00
Scott, Mary Ann                       $5,000,000.00
Scott, Sheria                         $2,500,000.00
Scott, Stephen Allen                  $2,500,000.00
Seguerra, Jacklyn                     $2,500,000.00
Shipp, Bryan Richard                  $5,000,000.00
Shipp, James David                    $2,500,000.00
Shipp, Janice                         $2,500,000.00
Shipp, Maurice                        $2,500,000.00
Shipp, Pauline                        $8,000,000.00
Shipp, Raymond Dennis                 $2,500,000.00
Shipp, Russell                        $2,500,000.00
Sinsioco, Susan J.                    $2,500,000.00
Smith-Ward, Ana                       $8,000,000.00
Smith, Angela Josephine (Estate of)   $5,000,000.00
Smith, Bobbie Ann                     $5,000,000.00
Smith, Cynthia                        $2,500,000.00
Smith, Donna Marie                    $2,500,000.00
Smith, Erma                           $2,500,000.00
Smith, Holly                          $2,500,000.00
Smith, Ian                            $5,000,000.00
Smith, Janet                          $2,500,000.00
Smith, Joseph K. III                  $2,500,000.00
Smith, Joseph K. Jr.                  $5,000,000.00
Smith, Keith                          $5,000,000.00
Smith, Kelly B.                       $2,500,000.00
Smith, Shirley L.                     $5,000,000.00
Smith, Tadgh                          $2,500,000.00
Smith, Terrence                       $2,500,000.00
Smith, Timothy B.                     $2,500,000.00
Sommerhof, Jocelyn J.                 $5,000,000.00
Sommerhof, John                       $2,500,000.00
Sommerhof, William J.                 $5,000,000.00
Spencer, Douglas                      $2,500,000.00
Stelpflug, Christy Williford          $2,500,000.00
Stelpflug, Joseph                     $2,500,000.00
Stelpflug, Kathy Nathan               $2,500,000.00
Stelpflug, Laura Barfield             $2,500,000.00
Stelpflug, Peggy                      $5,000,000.00

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Stelpflug, William                  $5,000,000.00
Stephens, Horace Sr.                $5,000,000.00
Stephens, Joyce                     $5,000,000.00
Stephens, Keith                     $2,500,000.00
Stockton, Dona                      $5,000,000.00
Stockton, Donald (Estate of)        $5,000,000.00
Stockton, Richard                   $2,500,000.00
Stokes, Irene                       $5,000,000.00
Stokes, Nelson Jr.                  $2,500,000.00
Stokes, Nelson Sr. (Estate of)      $5,000,000.00
Stokes, Robert                      $2,500,000.00
Stokes-Graham, Gwenn                $2,500,000.00
Sturghill, Marcus D.                $2,500,000.00
Sturghill, Marcus L. Jr.            $5,000,000.00
Sturghill, NaKeisha Lynn            $2,500,000.00
Sundar, Doreen                      $8,000,000.00
Tella, Margaret                     $2,500,000.00
Terlson, Susan L.                   $2,500,000.00
Thompson, Mary Ellen                $2,500,000.00
Thorstad, Adam                      $5,000,000.00
Thorstad, Barbara                   $5,000,000.00
Thorstad, James Jr.                 $2,500,000.00
Thorstad, James Sr.                 $5,000,000.00
Thorstad, John                      $2,500,000.00
Thorstad, Ryan                      $5,000,000.00
Thurman, Betty Ann                  $2,500,000.00
Tingley, Barbara                    $5,000,000.00
Tingley, Richard L.                 $5,000,000.00
Tingley, Russell                    $2,500,000.00
Tolliver, Keysha                    $5,000,000.00
Turek, Mary Ann                     $5,000,000.00
Valenti, Karen                      $5,000,000.00
Vallone, Anthony                    $2,500,000.00
Vallone, Donald H.                  $5,000,000.00
Vallone, Timothy                    $2,500,000.00
Vargas, Leona Mae                   $2,500,000.00
Voyles, Denise                      $2,500,000.00
Wallace, Ila                        $5,000,000.00
Wallace, Kathryn Thorstad           $2,500,000.00
Wallace, Richard J.                 $2,500,000.00
Warwick, Barbara Thorstad           $2,500,000.00
Washington, Linda                   $2,500,000.00
Washington, Vancine                 $2,500,000.00
Watson, Kenneth                     $2,500,000.00

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Whitener, Diane                         $2,500,000.00
Wigglesworth, Daryl                     $2,500,000.00
Wigglesworth, Darrin A.                 $2,500,000.00
Wigglesworth, Henry                     $5,000,000.00
Wigglesworth, Mark                      $2,500,000.00
Wigglesworth, Robyn                     $2,500,000.00
Wigglesworth, Sandra                    $5,000,000.00
Wigglesworth, Shawn                     $2,500,000.00
Williams, Dianne Stokes                 $2,500,000.00
Williams, Gussie Martin                 $2,500,000.00
Williams, Janet                         $5,000,000.00
Williams, Johnny                        $2,500,000.00
Williams, Rhonda                        $2,500,000.00
Williams, Ronald                        $2,500,000.00
Williams, Ruth                          $5,000,000.00
Williams, Scipio J.                     $5,000,000.00
Williams, Wesley                        $5,000,000.00
Williams-Edwards, Delma                 $2,500,000.00
Williamson, Tony                        $2,500,000.00
Williamson, Jewelene                    $5,000,000.00
Winter, Michael                         $5,000,000.00
Wiseman, Barbara                        $8,000,000.00
Woodford, Phyllis                       $2,500,000.00
Woodle, Joyce                           $2,500,000.00
Woollett, Beverly                       $5,000,000.00
Woollett, Paul                          $5,000,000.00
Wright, Melvina Stokes                  $2,500,000.00
Wright, Patricia                        $5,000,000.00
Wyche, Glenn                            $2,500,000.00
Wyche, John                             $2,500,000.00
Young, John F.                          $5,000,000.00
Young, John W.                          $2,500,000.00
Young, Judith Carol                     $5,000,000.00
Young, Sandra Rhodes                    $5,000,000.00
Zimmerman, Joanne                       $2,500,000.00
Zone, Stephen Thomas                    $2,500,000.00
Zosso, Patricia Thorstad                $2,500,000.00

      4.     Claims Brought by Family Members of Injured Servicemen

Ali, Jamaal Muata                       $1,250,000.00
Angeloni, Margaret                      $1,250,000.00
Arroyo, Jesus                           $1,250,000.00
Arroyo, Milagros                        $1,250,000.00

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Carletta, Olympia                   $2,500,000.00
Carpenter, Kimberly                 $4,000,000.00
Comes, Joan                         $2,500,000.00
Comes, Patrick                      $1,250,000.00
Comes, Christopher                  $1,250,000.00
Comes, Frank Sr.                    $2,500,000.00
Crawford, Deborah                   $1,250,000.00
Davis, Barbara                      $4,000,000.00
Franklin, Alice Warren              $1,250,000.00
Gerlach, Patricia                   $4,000,000.00
Gerlach, Travis                     $2,500,000.00
Gerlach, Megan                      $2,500,000.00
Hernandez, Arminda                  $1,250,000.00
Hlywiak, Margaret                   $2,500,000.00
Hlywiak, Peter Jr.                  $1,250,000.00
Hlywiak, Peter Sr.                  $2,500,000.00
Hlywiak, Paul                       $1,250,000.00
Hlywiak, Joseph                     $1,250,000.00
Hunt, Cynthia Lou                   $4,000,000.00
Ibarro, Rosa                        $2,500,000.00
Jacobs, Andrew Scott                $2,500,000.00
Jacobs, Daniel Joseph               $2,500,000.00
Jacobs, Danita                      $4,000,000.00
Kirkpatrick, Kathleen               $4,000,000.00
Lewis, Grace                        $2,500,000.00
Magnotti, Lisa                      $1,250,000.00
Mitchell, Wendy                     $4,000,000.00
Moore, James Otis (Estate of)       $1,250,000.00
Moore, Johnney S. (Estate of)       $2,500,000.00
Moore, Marvin S.                    $1,250,000.00
Moore, Alie Mae                     $2,500,000.00
Moore-Jones, Jonnie Mae             $1,250,000.00
Nashton, Alex W. (Estate of)        $2,500,000.00
Oliver, Paul                        $2,500,000.00
Oliver, Riley                       $2,500,000.00
Oliver, Michael John                $2,500,000.00
Oliver, Ashley E.                   $2,500,000.00
Oliver, Patrick S.                  $2,500,000.00
Oliver, Kayley                      $2,500,000.00
Russell, Tanya                      $2,500,000.00
Russell, Wanda                      $4,000,000.00
Russell, Jason                      $2,500,000.00
Shaver, Clydia                      $1,250,000.00
Spaulding, Scott                    $1,250,000.00

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Stanley, Cecilia                         $2,500,000.00
Stilpen, Mary                            $1,250,000.00
Swank, Kelly                             $1,250,000.00
Swinson, Kenneth J. (Estate of)          $2,500,000.00
Swinson, Ingrid M. (Estate of)           $2,500,000.00
Swinson, Daniel                          $1,250,000.00
Swinson, William                         $1,250,000.00
Swinson, Dawn                            $1,250,000.00
Swinson, Teresa                          $1,250,000.00
Warren, Bronzell                         $1,250,000.00
Watson, Jessica                          $1,250,000.00
Webb, Audrey                             $1,250,000.00
Wheeler, Jonathan                        $2,500,000.00
Wheeler, Benjamin                        $2,500,000.00
Wheeler, Marlis "Molly" (Estate of)      $2,500,000.00
Wheeler, Kerry                           $1,250,000.00
Wheeler, Andrew                          $2,500,000.00
Wheeler, Brenda June                     $4,000,000.00
Wold, Jill                               $1,250,000.00
Young, Nora (Estate of)                  $2,500,000.00
Young, James                             $1,250,000.00
Young, Robert (Estate of)                $2,500,000.00

       IT IS FURTHER ORDERED that the claims brought by the following plaintiffs are

hereby DISMISSED WITHOUT PREJUDICE:

Albright, Marvin Jr.
Albright, Mirequrn
Albright, Shertara
Banks, Anthony (son)
Banks, Michael
Banks, Taiarra
Berry, Lori
Burnette, Christopher
Burnette, Gwen
Camara, Mecot Jr.
Comes, Dale
Comes, Tommy
Crop, Kimberly
Decker, Connie
Dolphin, Erin
Douglass, Frederick (Estate of)
Eaves, Christopher

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Eaves, India
Eaves, Sylvia Jean
Foister, Gerald
Frye, Charles Jr.
Frye, Gina
Frye, Lialani
Frye, Lincoln
Frye, Randall
Garner, Joseph
Garner, Justina
Garner, Penny
Garner, Reva
Goodman, Karl
Haskell, Barbara
Haskell, Richard
Hlywiak, Jordan
Hlywiak, Taylor
Hunt, Jack Darrell
Hunt, Marcy Elizabeth
Hunt, Mendy Leigh
Hunt, Molly Faye
Livingston, Carol
Massa, Manuel Sr. (Estate of)
Matthews, Chadwick
Matthews, Debra
Matthews, Drew
Meurer, Deborah
Miller, Shirley D.
Mitchell, Elvera
Mitchell, Robert
Price, Betty Lou (Estate of)
Price, Timothy
Rivers, Jeremy
Rivers, Paul (son)
Rivers, Sandra
Schak, Carol
Schak, George
Spencer, Lynne M.
Washington, Patrice
Williams, Kevin Coker
Williams, George Robinson
Williams, Dorothy (Estate of)
Williamson, Bill
Wise, Debra

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Woodcock, Gwen

      IT IS FURTHER ORDERED that the claims brought by the following plaintiffs are

hereby DISMISSED WITH PREJUDICE:

Beamon, Ashley Tutwiler
Beresford, Michael
Beresford, Susan
Beresford, William
Bianco, Sandra Karen
Bianco, Sandra
Bonk, Catherine
Bonk, John Sr.
Bonk, Kevin
Bonk, Thomas
Calloway, Donald
Clark, Michael Jr.
Corry, Charles
DiGiovanni, Lisa
DiGiovanni, Marion
DiGiovanni, Robert
DiGiovanni, Danielle
Fiedler, Sherry Lynn
Fluegel, Robert
Fluegel, Thomas A.
Fluegel, Marilou
Green, Rebecca Iverson
Hairston, Evans
Hairston, Felicia
Hairston, Julia Bell
Hukill, Henry Durban
Hukill, Mark Andrew
Hukill, Matthew Scott
Hukill, Melissa
Hukill, Meredith Anne
Hukill, Mitchell Charles
Hukill, Monte
Hukill, Virginia Ellen
Jackowski, Mary
Jones, Storm
Joyce, Penni
Kirkwood, Carl Sr.
Kirkwood, Jeff

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Kirkwood, Shirley
Kirkwood, Carl Arnold Jr.
Kronenbitter, Patricia
Laise, Kris
Laise, Bill
Laise, Betty
Lewis, Natalie
Macroglou, James
Macroglou, Lorraine
Macroglou, Bill
Mason, Richard
McDonald, Kathy
McDonough, Edward W.
McDonough, Sean
McDonough, Edward Joseph
Morgan, Geraldine
Nashton, Pamela J.
Persky, Herbert
Phelps, Charles Jr.
Phelps, Charles Sr.
Prevatt-Wood, Victoria
Rhosto, Deborah Spencer
Rochwell, Natalie
Rockwell, Donald
Rotondo, Rose (Estate of)
Rotondo, Luis (Estate of) (father)
Santoserre, Phyllis (Estate of)
Simpson, Robert
Simpson, Renee Eileen
Simpson, Larry H. Sr.
Simpson, Anna Marie
Vallone, Donna Beresford
Wallace, Bobby L.
Watkins, Lula Mae (Estate of)
Watkins, Simon
Wirick, Sally Jo

       IT IS FURTHER ORDERED that plaintiffs, at their own cost and consistent with the

requirements of 28 U.S.C. § 1608(e), send a copy of this Judgment and the Findings of Fact and

Conclusions of Law issued this date to defendants.

       IT IS FURTHER ORDERED that the Clerk of this Court shall terminate this case from

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the dockets of this Court.



       SO ORDERED.

       Signed by Royce C. Lamberth, United States District Judge, September 7, 2007.




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